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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X       10/18/2020
                                                                       :
WAYNE TATUM,                                                           :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   19-CV-2581 (JPC)
                  -v-                                                  :
                                                                       :     NOTICE OF
CITY OF NEW YORK et al.,                                               :   REASSIGNMENT
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All parties must familiarize themselves

with the Court’s Individual Rules, including the Individual Rules and Practices for Pro Se

Litigants, which are available at https://www.nysd.uscourts.gov/hon-john-p-cronan. Unless

and until the Court orders otherwise, all prior orders, dates, and deadlines shall remain in effect

notwithstanding the case’s reassignment.

        All parties are hereby directed to appear before the undersigned for a status conference on

November 10, 2020 at 2:00 p.m. In light of the ongoing COVID-19 pandemic, the Court will

conduct the conference by teleconference. At the scheduled time all parties should call (866) 434-

5269, access code 9176261. Absent leave of Court obtained by letter-motion filed before the

conference, all pretrial conferences must be attended by the attorney who will serve as principal

trial counsel for any represented party.

        In accordance with the Court’s Individual Rules and Practices, requests for extensions or

adjournment must be made in writing and must be received at least 48 hours before the deadline

or scheduled appearance, absent compelling circumstances. The written submission must state (1)

the original date(s) set for the appearance or deadline(s) and the new date(s) requested; (2) the
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reason(s) for the request; (3) the number of previous requests for adjournment or extension; (4)

whether these previous requests were granted or denied; and (5) whether the opposing party

consents, and, if not, the reasons given by the opposing party for refusing to consent.

       The Clerk of the Court is respectfully directed to mail a copy of this Order to Plaintiff.

       SO ORDERED.

Dated: October 18, 2020                              __________________________________
       New York, New York                                     JOHN P. CRONAN
                                                            United States District Judge




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